Case 0:22-cv-60338-RAR Document 75 Entered on FLSD Docket 06/28/2023 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-CV-60338-RAR

  HELENA URÁN BIDEGAIN, et al.,

         Plaintiffs,

  v.

  LUIS ALFONSO PLAZAS VEGA,

        Defendant.
  ________________________________________/

                                      SCHEDULING ORDER

         On May 30, 2023, the Court entered an Omnibus Order, [ECF No. 72]. The Order

  required the parties “to discuss the parameters and scope of discovery regarding the affirmative

  defense of exhaustion of local remedies as it relates to (1) Colombia’s Victims Law, (Law

  1448/2011); (2) Article 90 of the Colombian Constitution; and (3) the Colombian investigation

  following the Inter-American Court of Human Rights’ order that the Colombian government

  investigate and prosecute those responsible for Magistrate Urán’s torture and execution.” Order

  at 2. As the Order required, the parties filed a Joint Status Report outlining their respective

  positions and proposals regarding discovery pertinent to the exhaustion of local remedies. [ECF

  No. 74]. The parties generally agree on the timeline for the proposed scheduling order but

  disagree on the scope of discovery. See id. Having carefully reviewed the Joint Status Report

  and being otherwise fully advised, it is hereby

         ORDERED AND ADJUDGED that the parties shall engage in discovery regarding the

  affirmative defense of exhaustion of local remedies, as the Court set out in its Omnibus Order,

  [ECF No. 72].
Case 0:22-cv-60338-RAR Document 75 Entered on FLSD Docket 06/28/2023 Page 2 of 4




         Additionally, for the purpose of preserving evidence, Plaintiffs may take a maximum of

  five (5) depositions relating to the merits of this case. The Court only grants Plaintiffs these

  depositions in light of Plaintiffs’ representations that because “this case involves events that

  occurred nearly forty years ago in Colombia, some witnesses Plaintiffs anticipate will be key are

  of advanced age” and “ongoing safety concerns of deponents.” Joint Status Report at 8–9.

  Plaintiffs shall cover all costs of these depositions, handle all technical logistics, and Defendant’s

  counsel shall be permitted to attend remotely.

         Accordingly, the Court enters the following Scheduling Order:

         July 13, 2023. Parties shall serve written discovery limited to Defendant’s affirmative
         defense of exhaustion.

         August 10, 2023. Parties shall serve responses to written discovery on Defendant’s
         affirmative defense of exhaustion.

         August 24, 2023. Parties shall meet and confer regarding the necessity of depositions on
         Defendant’s affirmative defense of exhaustion.

         September 21, 2023. Parties shall exchange opening expert reports on Defendant’s
         affirmative defense of exhaustion.

         October 19, 2023. Parties shall exchange rebuttal expert reports on Defendant’s
         affirmative defense of exhaustion.

         November 16, 2023. Parties shall file dispositive motions on Defendant’s affirmative
         defense of exhaustion.

         December 18, 2023. Parties shall submit opposition briefs.

         January 2, 2023. Parties shall submit reply briefs.

         Referral to Magistrate Judge. Pursuant to 28 U.S.C. § 636 and this District’s

  Magistrate Judge Rules, all discovery matters are hereby referred to United States Magistrate

  Judge Jared M. Strauss. Furthermore, in accordance with 28 U.S.C. § 636(c)(1), the parties may

  consent to trial and final disposition by the Magistrate Judge.


                                               Page 2 of 4
Case 0:22-cv-60338-RAR Document 75 Entered on FLSD Docket 06/28/2023 Page 3 of 4




         Good Faith Conferral. For the purposes of compliance with the good faith conferral

  requirement of Local Rule 7.1(a)(3), the parties are instructed that a single e-mail exchange with

  opposing counsel shall not constitute a good faith effort under the Local Rules. The parties are

  instructed to confer either telephonically or in person.

         Discovery.     The parties may stipulate to extend the time to answer interrogatories,

  produce documents, and answer requests for admissions. The parties shall not file with the Court

  notices or motions memorializing any such stipulation unless the stipulation interferes with the

  deadlines set forth above. Stipulations that would so interfere may be entered into only with the

  Court’s approval. See FED. R. CIV. P. 29. In addition to the documents enumerated in Local

  Rule 26.1(b), the parties shall not file notices of deposition with the Court. Strict compliance

  with the Local Rules is expected, particularly with respect to motions practice. See S.D. FLA.

  L.R. 7.1.

         Discovery Disputes.       The parties shall not file any written discovery motions,

  including motions to compel, for protective order, or for sanctions, without the consent of

  Magistrate Judge Strauss. Counsel must actually confer and engage in reasonable compromise

  in a genuine effort to resolve their discovery disputes before seeking the Court’s intervention.

  The Court may impose sanctions, monetary or otherwise, if it determines that a party has

  improperly sought or withheld discoverable material in bad faith. If, after conferring, the parties

  are unable to resolve their discovery dispute without Court intervention, they shall not file

  written motions. Rather, the parties shall follow Judge Strauss’s Discovery Procedure Order to

  schedule the matter for a hearing.




                                              Page 3 of 4
Case 0:22-cv-60338-RAR Document 75 Entered on FLSD Docket 06/28/2023 Page 4 of 4




        DONE AND ORDERED in Miami, Florida, this 27th day of June, 2023.




                                               RODOLFO A. RUIZ II
                                               UNITED STATES DISTRICT JUDGE




                                      Page 4 of 4
